Case 1:21-cv-05868-ENV-VMS Document 34 Filed 09/08/23 Page 1 of 4 PageID #: 116




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                                                                                                     P: 646.253.2330
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 September 8, 2023


 VIA UPS, U.S. MAIL AND EMAIL (jaypandya@rohangroup.net)

 Mr. Jignesh Pandya
 Chairman – Boston Market Corporation
 c/o Rohan Group of Companies
 14103 Denver West Parkway
 Golden, Colorado 80401

 Re:    Fitzpatrick v. Boston Market Corporation.
        Civil Action No. 1:21-cv-05868

 Dear Jay:

 As per my earlier voicemail today, enclosed please find a copy of an Order of the Hon. Magistrate
 Judge Vera M. Scanlon that sets a court hearing on my firm’s pending motion to be relieved as
 counsel:

        Date:          September 19, 2023 at 2:30 PM
        Location:      United States District Court for the New York Eastern District
                       225 Cadman Plaza East, 1214 South
                       Brooklyn, NY 11201
                       Courtroom: 13ASouth Wing

 Please note that the Court’s order requires an appropriate representative of Boston Market
 Corporation to appear at the September 19th hearing. Please call me if you have any questions.

 Respectfully Submitted,

  BOND, SCHOENECK & KING, PLLC




  Gregory B. Reilly, Esq.

 Enclosure

 cc: Josef Nussbaum, Esq. (Counsel for Plaintiff)
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 From: ecf_bounces@nyed.uscourts.gov <ecf_bounces@nyed.uscourts.gov>
 Sent: Tuesday, September 05, 2023 12:23 PM
 To: nobody@nyed.uscourts.gov
 Subject: Activity in Case 1:21-cv-05868-ENV-VMS Fitzpatrick v. Boston Market Corporation Order on
 Motion to Adjourn Conference

                 External Email: Use caution before clicking links or opening attachments.

 This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
 this e-mail because the mail box is unattended.
 ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
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 not apply.

                                             U.S. District Court

                                        Eastern District of New York

 Notice of Electronic Filing

 The following transaction was entered on 9/5/2023 at 12:22 PM EDT and filed on 9/5/2023
 Case Name:          Fitzpatrick v. Boston Market Corporation
 Case Number:        1:21-cv-05868-ENV-VMS
 Filer:
 Document Number: No document attached

 Docket Text:
 ORDER: The parties' separate requests at [32] and [33] to adjourn the 9/12/2023
 Motion Hearing are granted. The in-person 9/12/2023 Motion Hearing is
 rescheduled to 9/14/2023 at 2:30 PM in Courtroom 13A South before Magistrate
 Judge Vera M. Scanlon. All counsel and an appropriate representative of
 Defendant must appear.

 Defendant's counsel must serve a copy of this Order on Defendant at its last-
 known mailing address and also provide the date, time, and location of the
 hearing to an appropriate representative of Defendant. On or before 9/8/2023,
 Defendant's counsel must file proof of compliance with this Order, including the
 address at which Defendant was served with this Order and the name and contact
 information of the representative of Defendant to whom the hearing information
 was provided. Ordered by Magistrate Judge Vera M. Scanlon on 9/5/2023. (MG)


 1:21-cv-05868-ENV-VMS Notice has been electronically mailed to:
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 Gregory Bertram Reilly   greilly@bsk.com, ddicola@bsk.com, grafmax17@gmail.com

 Daniel Maimon Kirschenbaum     maimon@jhllp.com

 Josef Nussbaum     jnussbaum@jhllp.com

 Mallory Campbell    mcampbell@bsk.com, jbaptiste@bsk.com

 1:21-cv-05868-ENV-VMS Notice will not be electronically mailed to:
    Case 1:21-cv-05868-ENV-VMS Document 34 Filed 09/08/23 Page 4 of 4 PageID #: 119




                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2023, I caused the foregoing letter and the September 5,
2023 Order of the Honorable Magistrate Judge Vera M. Scanlon in the matter of Fitzpatrick v. Boston
Market Corporation; Docket No. 1:21-cv-05868 to be served on the following persons on this date by
email to jaypandya@rohangroup.net and also by U.S. Mail (regular delivery) and also by UPS
Overnight Mail to:


Mr. Jignesh Pandya
Chairman – Boston Market Corporation
c/o Rohan Group of Companies
14103 Denver West Parkway
Golden, Colorado 80401




Gregory B. Reilly
